                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA


ROBERT JONES                                         CIVIL ACTION


VERSUS                                               NO: 18-503


LEON CANNIZZARO, JR.                                 SECTION “H”


                         ORDER AND REASONS
     Before the Court are Defendant’s Motions in Limine to Exclude the
Expert Testimony of Dr. Allison Redlich (Doc. 217), Dr. Jennifer Dysart (Doc.
222), and Laurie Levenson (Doc. 230); and Plaintiff’s Motions in Limine to
Exclude the Expert Testimony of Frank DeSalvo (Doc. 226); and Dr. Mary
Tramontin (Doc. 227). For the following reasons, the Motions in Limine to
Exclude the Expert Testimony of Dr. Allison Redlich and Frank DeSalvo are
DENIED; and the Motions to Exclude the Testimony of Dr. Jennifer Dysart,
Laurie Levenson, and Dr. Mary Tramontin are GRANTED IN PART.




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                               BACKGROUND
      In March 1996, Plaintiff Robert Jones was found guilty at trial of charges
connected to a crime spree based in part on eyewitness identifications.
Thereafter, Plaintiff pleaded guilty to four additional crimes (the “Guilty Plea
Crimes”). Plaintiff’s initial conviction was vacated for Brady violations on
October 8, 2014 by the Louisiana Fourth Circuit Court of Appeal, and the
charges against him were ultimately dismissed. Plaintiff’s convictions for the
Guilty Plea Crimes were vacated in 2017 based on ineffective assistance of
counsel in connection with his guilty pleas. Plaintiff now brings claims against
Orleans Parish District Attorney Leon A. Cannizzaro, Jr. (“OPDA”) in his
official capacity under 42 U.S.C. § 1983 for damages caused by Plaintiff’s
wrongful conviction and 23-year incarceration.
      Before the Court are three Motions in Limine filed by Defendant and two
Motions in Limine filed by Plaintiff seeking to exclude testimony by various
experts at trial. This Court will consider each motion in turn.


                            LEGAL STANDARD
      The admissibility of expert testimony is governed by Federal Rule of
Evidence 702, which provides as follows:
      A witness who is qualified as an expert by knowledge, skill,
      experience, training, or education may testify in the form of an
      opinion or otherwise if: (a) the expert’s scientific, technical, or
      other specialized knowledge will help the trier of fact to
      understand the evidence or to determine a fact in issue; (b) the
      testimony is based on sufficient facts or data; (c) the testimony is
      the product of reliable principles and methods; and (d) the expert
      has reliably applied the principles and methods to the facts of the
      case.

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The current version of Rule 702 reflects the Supreme Court’s decisions in
Daubert v. Merrell Dow Pharmaceuticals, Inc., 1 and Kumho Tire Co. v.
Carmichael. 2       The threshold inquiry is whether the expert possesses the
requisite qualifications to render an opinion on a particular subject matter.3
Having defined the permissible scope of the expert’s testimony, a court next
inquires whether the opinions are reliable and relevant. 4 In undertaking this
tripartite analysis, courts must give proper deference to the traditional
adversary system and the role of the finder of fact within that system. 5
“Vigorous cross-examination, presentation of contrary evidence, and careful
instruction on the burden of proof are the traditional and appropriate means
of attacking shaky but admissible evidence.” 6 As the “gatekeeper” of expert
testimony,      the    trial    court     enjoys     broad     discretion      in    determining
admissibility. 7


                                  LAW AND ANALYSIS
       Defendant has moved to exclude the expert testimonies of Plaintiff’s
experts Dr. Allison Redlich, Dr. Jennifer Dysart, and Laurie Levenson.
Plaintiff has moved to exclude the expert testimonies of Defendant’s experts



       1 509 U.S. 579 (1993).
       2 526 U.S. 137 (1999).
       3 Wagoner v. Exxon Mobil Corp., 813 F. Supp. 2d 771, 799 (E.D. La. 2011); see also

Wilson v. Woods, 163 F.3d 935, 937 (5th Cir. 1999) (“A district court should refuse to allow
an expert witness to testify if it finds that the witness is not qualified to testify in a particular
field or on a given subject.”).
        4 See United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010).
        5 See Daubert, 509 U.S. at 596.
        6 Id.
        7 Wellogix, Inc. v. Accenture, L.L.P., 716 F.3d 867, 881 (5th Cir. 2013).

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Frank DeSalvo and Dr. Mary Tramontin. This Court will consider each expert
in turn.
      A. Dr. Allison Redlich
      Plaintiff intends to introduce the expert testimony of Dr. Allison Redlich,
a psychologist and criminology professor at George Mason University, on the
prevalence of and reasons for false guilty pleas by innocent persons and
whether any of the factors known to increase the risk of a false guilty plea by
an innocent person are present in Plaintiff’s case. Redlich opines that
Plaintiff’s guilty plea “bears many of the hallmarks of a false guilty plea,”
including that he had been convicted at a prior trial, faced a mandatory life
sentence, and was unaware of exculpatory evidence that supported his
innocence of the charges. Redlich seeks to explain why Plaintiff might have
pleaded guilty to crimes he claims he did not commit. Defendant seeks to
exclude Redlich’s testimony, arguing that it will not assist the trier of fact and
is not based on reliable methodology.
      i.     Relevance
      First, Defendant argues that Redlich’s opinions are not relevant to the
issues at trial. In the next breath, however, Defendant admits that Plaintiff’s
plea to the Guilty Plea Crimes is relevant to damages and causation.
Defendant states that “even if Mr. Jones were to succeed in proving a Brady
violation that caused him to be wrongfully convicted a trial in 1996, that Brady
violation would not be the actual and proximate cause of his imprisonment
because he was independently serving prison sentences based on the Guilty
Plea Crimes.” 8 It is clear then that Defendant intends to argue that Plaintiff


      8 Doc. 217-1 at 6.

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would have served time for the Guilty Plea Crimes regardless of any prior
Brady violation. Redlich’s testimony is therefore plainly relevant to rebut this
defense. Plaintiff intends to offer Redlich’s testimony to show that “OPDA
leveraged his wrongful convictions, at a Brady-tainted trial, to extract his
guilty pleas.” 9
       Next, Defendant argues that Redlich’s opinions are not helpful to the
jury because they do not offer it any assistance in deciding whether Plaintiff is
guilty or innocent or what caused him to plead guilty to the Guilty Plea Crimes.
The fact that Redlich does not opine on Plaintiff’s guilt, innocence, or state of
mind—opinions that Defendant would no doubt argue are speculative and
impermissible legal conclusions—does not make her opinion unhelpful.
Redlich’s opinion will assist the jury in understanding why Plaintiff might
have pleaded guilty despite his claimed innocence and how the OPDA’s actions
may have contributed to that decision. Moreover, the Fifth Circuit has noted
that the “‘helpfulness threshold is low: it is principally . . . a matter of
relevance.’” 10 A district court may admit expert testimony to help “the trier of
fact to understand the evidence or to determine a fact in issue.” 11
       Defendant also complains that Redlich’s opinion is unhelpful because she
does not opine whether it is more likely than not that Plaintiff’s guilty plea was
false. In so arguing, Defendant relies on the Fifth Circuit’s opinion in Pipitone
v. Biomatrix, Inc. 12 In Pipitone, the Fifth Circuit affirmed the exclusion of an
expert’s opinion that “it was as likely as not” that a syringe of Synvisc

       9 Doc. 240.
       10 Puga v. RCX Sols., Inc., 922 F.3d 285, 294 (5th Cir. 2019) (quoting E.E.O.C. v. Boh

Bros. Const. Co., 731 F.3d 444, 459 n.14 (5th Cir. 2013) (en banc)).
       11 Fed. R. Evid. 702(a).
       12 Pipitone v. Biomatrix, Inc., 288 F.3d 239 (5th Cir. 2002).

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administered to the plaintiff contained the salmonella bacteria that had
infected him. 13 The court stated that the expert’s opinion was “not helpful to
the fact-finder because of his inability to conclude that it was more likely than
not that the Synvisc caused the infection in Pipitone’s knee. A perfectly
equivocal opinion does not make any fact more or less probable and is
irrelevant under the Federal Rules of Evidence.” 14
      Defendant reads Pipitone to declare that an expert’s opinion must find
that some outcome is “more likely than not.” This Court does not read Pipitone
to stand for this proposition. Rather, Pipitone states that an equivocal
position—that something is as likely as something else—is not helpful to the
trier of fact because it does not make any fact more or less probable. Pipitone
is inapplicable here where Redlich’s opinion is not equivocal. Redlich’s opinion
makes it more probable that Plaintiff made a false guilty plea and is therefore
helpful to the trier of fact.
      ii.      Reliability
      Defendant next presents a series of reasons it believes that Redlich’s
opinions are not based on reliable principles and methods. Most of these
complaints amount to a disagreement with her opinion and are best addressed
on cross examination. Other objections simply mischaracterize Redlich’s
opinion. None convincingly challenge the methodology on which Redlich’s
opinions are based.
      First, Defendant complains that many of the factors Redlich has
identified that would increase the likelihood of false guilty pleas are (1) not


      13 Id. at 245.
      14 Id.

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present in this case or (2) might also increase the likelihood of true guilty pleas.
This might be a fair criticism of Redlich’s opinion, but it does not bear on the
methodology that she used to reach that opinion. A Daubert analysis must
focus “solely on principles and methodology, not on the conclusions that they
generate.” 15
      Similarly, Defendant argues that Redlich has no reliable scientific basis
to opine that failure to disclose exculpatory evidence is a common
characteristic of false guilty pleas. Redlich’s report relies on an article she co-
authored that found after a review of data from the National Registry of
Exoneration that 10% of false guilty pleas involved a failure to disclose
exculpatory evidence. Defendant argues that such a low percentage cannot
represent a commonality. It also argues that by its nature the prevalence of
suppressed exculpatory evidence is unknowable and thus Redlich’s opinion is
not based on any reliable scientific basis. Defendant’s objections do not speak
to the reliability of the methods by which Redlich reached her opinion. Rather,
they speak to her opinion itself. Defendant may cross examine Redlich on her
opinion that a factor present in 10% of cases represents a commonality.
Further, the fact that the suppression of favorable evidence is often unknown
only bolsters her opinion that the 10% finding might actually be much higher.
      Next, Defendant argues that Redlich has no basis for her opinion that
innocent defendants may plead guilty “after experiencing a loss at trial
themselves or watching co-defendants lose at trial and be sentenced harshly.”
However, Redlich’s report plainly relies on several cases and a dataset from
the National Registry of Exoneration to support her opinion. Daubert requires


      15 Daubert, 509 U.S. at 595.

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only that a court “make certain that an expert, whether basing testimony upon
professional studies or personal experience, employs in the courtroom the same
level of intellectual rigor that characterizes the practice of an expert in the
relevant field.” 16 Defendant has not identified any reason that Redlich’s
method of reliance on cases, exoneration data, studies, and her own research
is unreliable. “Questions relating to the bases and sources of an expert’s
opinion affect the weight to be assigned that opinion rather than its
admissibility and should be left for the jury’s consideration.” 17
      Finally, Defendant argues that Plaintiff should be judicially estopped
from suggesting that the OPDA’s misconduct caused him to plead guilty when
he previously argued that ineffective assistance of counsel was to blame. To be
sure, Plaintiff also previously argued that the suppression of evidence caused
him to plead guilty. Judicial estoppel prevents a party from asserting a position
that is plainly inconsistent with a position previously taken. 18 Here, there is
nothing contrary about Plaintiff’s position that both ineffective assistance of
counsel and the OPDA’s misconduct caused him to plead guilty. Defendant’s
motion to exclude Redlich’s testimony fails.
      B. Dr. Jennifer Dysart
      Plaintiff intends to introduce the expert testimony of Dr. Jennifer
Dysart, a social psychologist and expert in the field of eyewitness
identification, to support his contention that he was mistakenly identified.
Dysart will opine that several factors exist in Plaintiff’s case that have been
shown to affect the accuracy of witness identification and that those factors

      16 Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).
      17 United States v. Hodge, 933 F.3d 468, 478 (5th Cir. 2019), as revised (Aug. 9, 2019).
      18 New Hampshire v. Maine, 532 U.S. 742, 749 (2001).

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significantly decrease the likelihood of an accurate identification by the victims
in this case. Defendant argues that Dysart’s opinion is neither relevant nor
reliable.
      i.     Relevance
      Defendant argues that Dysart’s testimony is irrelevant because it does
not address a fact in issue. Defendant correctly points out that an expert
opinion regarding eyewitness identification would not have been admissible
during Plaintiff’s 1996 criminal trial in light of Louisiana’s public policy
prohibiting such testimony as inherently unreliable. 19 Accordingly, Dysart’s
testimony cannot be introduced on the element of causation. Plaintiff must
show that the OPDA’s Brady violations were a proximate cause of his
conviction and incarceration. He cannot present Dysart’s opinion to undermine
the eyewitness testimony that was given at his trial.
      Plaintiff argues, however, that Dysart’s opinion is relevant to show
Plaintiff’s innocence of the crimes for which he was convicted, which bears on
the issue of damages. Plaintiff contends that the jury award for a factually
innocent man will be much higher than the award for a factually guilty one.
This Court agrees.
       Defendant rebuts, however, that Plaintiff does not need Dysart’s opinion
because he already has a significant amount of evidence suggesting his
innocence and Dysart’s testimony risks jury confusion and the improper
application of her opinion to its consideration of cause-in-fact. This Court will
permit a limiting instruction to address these concerns.



      19 See State v. Stucke, 419 So. 2d 939, 945 (La. 1982).

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      Defendant next argues that Dysart’s testimony is unhelpful to the jury
because she does not provide the probability that the identifications of Plaintiff
were inaccurate. In so arguing, Defendant again relies on the Fifth Circuit’s
opinion in Pipitone. Pipitone is again inapplicable. Dysart’s opinion is not
equivocal. She opines that there is a decreased likelihood of an accurate
identification by the victims in this case, making it more probable that Plaintiff
is innocent.
      ii.      Reliability
      Defendant next argues that Dysart’s report seeks to offer opinions on
issues that are outside her area of expertise including police lineups and crime
scene reconstruction. These arguments misconstrue Dysart’s opinion. Dysart
does not opine on the constitutionality, efficacy, or reliability of the photo
lineup used by the NOPD to obtain pretrial identifications from the witnesses
in this case. Likewise, she does not seek to reconstruct the crime scene.
Instead, Dysart offers opinions on how the facts of Plaintiff’s case may have
affected the accuracy of witness identification. Dysart relies on a body of
research and her experience in the field of eyewitness identification to opine
on how the witness identification in this case was influenced by the lineup
procedures actually used and the opportunities that the witnesses had to see
the perpetrator.
      That said, there are portions of Dysart’s opinion in which her
commentary on these issues goes beyond that necessary to support her opinion.
For instance, several time Dysart mentions that the lineups conducted by the
NOPD fell below the standard of care. In addition, she offers a detailed
discussion of why the victim’s statement that she sees better in the dark is

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inconsistent with the science of vision. These comments are outside of Dysart’s
area of expertise, and she will not be permitted to offer these opinions. The
remainder of her opinion is relevant, reliable, and proper. Defendant’s motion
to exclude Dysart’s testimony is granted in part as outlined above.
       C. Laurie Levenson
       Plaintiff intends to introduce the expert testimony of Laurie Levenson,
a legal professor and expert in the field of criminal law and ethics, to opine on
whether the OPDA’s policies, practices, and customs complied with the
requirements of Brady. Defendant raises several objections to Levenson’s
report. 20 This Court will address each in turn.
       i.     Qualifications
       First, Defendant complains that Levenson has not identified a valid field
of expertise or established her expertise with respect to issues addressed in her
report. This Court finds these arguments disingenuous. Levenson is clearly
qualified to give the opinions contained in her report. She has practiced in the
field of criminal law and ethics as a prosecutor, professor, and author for more
than thirty years. In addition, she has published several articles relating
specifically to Brady law and is regarded in the field as an expert in that area.
       Second, Defendant complains that Levenson’s report reads like a brief
written by a zealous advocate, rather than an objective expert. Defendant
objects to the tone of Levenson’s report as too adversarial and argues that she
credits facts in the record that support her conclusion and discredits those that


       20  Plaintiff’s acknowledgement that Levenson will not offer opinions on causation,
deliberate indifference, constitutionality, whether a Brady violation occurred, or how the
facts of this case compare to the court’s opinions in Connick and Truvia moot several of the
arguments initially lodged by Defendant.
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contradict it. This is not a valid criticism under Rule 702 and is best addressed
on cross examination.
       ii.    Reliability
       Defendant next argues that Levenson’s opinions are not grounded in an
accepted body of learning or experience and that she has not explained how
her experiences led to those conclusions. Ironically, in defense of its own legal
expert, Defendant argued that “the reliability of an expert attorney’s
conclusions based on experience can readily be evaluated by the Court and
counsel for the parties without elaborate explanation, due to their familiarity
with the subject matter.” 21 Here too, it is clear how Levenson’s experience and
knowledge in the legal field led to her opinions. Overall, this Court finds
Levenson’s opinions sufficiently reliable.
       Specifically, Levenson’s opinions regarding the adequacy of OPDA’s
policies are reliably based on her experience and her exhaustive review of the
facts of this case, opinions of other courts, and standards of professional legal
organizations. Defendant’s continued insistence on mathematical calculations
of likelihood is again improper. 22 Further, this Court does not find that her
opinion that OPDA’s policy contained misstatements offers an impermissible
legal conclusion. Levenson’s testimony will help the jury understand the
adequacy of OPDA’s Brady policy. She does not opine on whether the OPDA




       21 Doc. 243 at 20.
       22 Defendant’s arguments that this opinion is not relevant were not raised until its

reply brief. “Arguments raised for the first time in a reply brief are generally waived.” Jones
v. Cain, 600 F.3d 527, 541 (5th Cir. 2010).
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was deliberately indifferent or whether its policies were constitutional.
Accordingly, she does not offer an opinion on a conclusion of law. 23
       In addition, this Court finds no merit in Defendant’s argument that
Levenson cannot testify regarding Brady violations found by other courts or
claimed in other cases. 24 Levenson’s opinion offers a synthesis of the available
case law that will assist the jury in its consideration of the history of findings
and allegations of Brady violations by the OPDA. While a court opinion offers
the most concise description of the facts of a case, it may still be too complex
for a lay person to decipher, understand, synthesize, and appreciate its
relevance to the facts of this case. Further, Levenson’s opinion about the
opportunities that the OPDA would have had to learn about court decisions
finding Brady violations is not an impermissible legal conclusion or opinion on
Defendant’s state of mind.
       Further, her opinion that the actual number of Brady violations by the
OPDA is likely much larger than the number that has been documented in
court decisions is fully supported by reliable sources and the facts in the record.
The fact that she does not purport to estimate the number of undocumented
violations does not make her opinion less reliable.
       That said, the Court finds that one of Defendant’s objections to
Levenson’s opinions has merit. The Court finds the method by which Levenson
calculated and compared the Brady violations in other cities to those
committed by the OPDA to be unreliable. Levenson seeks to opine that the


       23 The Federal Rules of Evidence do not “allow an expert to render conclusions of law.”

Porter v. Lear, 751 F. App’x 422, 433 (5th Cir. 2018).
       24 Defendant’s objection to Levenson’s improper use of the term “Brady violation” shall

be considered on a case-by-case basis at trial.
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number of Brady violations by the OPDA “far eclipse those of comparable
prosecutor’s offices.” In reaching this opinion, Levenson determined the
number of Brady violations in four cities by searching the Westlaw database,
news coverage, and “the National Registry of Exonerations and local Innocence
Projects websites.” This sort of ad hoc review fails to take into consideration
the number of cases prosecuted in each city and the accuracy and completeness
of the databases reviewed. Further, Levenson has not shown that such a
method is commonly used or accepted in her field. Accordingly, Levenson will
not be permitted to offer testimony on this comparison. Her testimony is
otherwise reliable, relevant, and proper. Accordingly, Defendant’s motion to
exclude her testimony is granted in part as outlined above.
      D. Frank DeSalvo
      Defendant seeks to introduce the expert opinion of criminal lawyer
Frank DeSalvo as to what Plaintiff’s trial counsel, Curklin Atkins, would have
done if he had received the allegedly suppressed evidence and how it would
have affected Plaintiff’s trial. Plaintiff seeks to exclude DeSalvo’s opinion
testimony because (1) it is unhelpful in light of this Court’s res judicata ruling
and (2) it is not sufficiently reliable because it is based on insufficient facts and
his personal experience as an attorney only. 25
      First, Plaintiff argues that because most of DeSalvo’s opinions conflict
with holdings of the Fourth Circuit—which this Court has held are res
judicata 26—they are unhelpful and irrelevant. While the Court agrees that

      25  Plaintiff also argues that DeSalvo’s opinions should be excluded in light of the
doctrine of judicial estoppel. These arguments were considered and rejected in the Court’s
Order and Reasons on Plaintiff’s Motion in Limine and Partial Motion for Summary
Judgment on Defendant’s Fifth Affirmative Defense.
       26 Doc. 117.

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some of DeSalvo’s opinions contradict statements made by the Fourth Circuit,
these statements are not holdings that merit application of the doctrine of res
judicata. “Issue preclusion requires the issue to be precluded to have been a
dispositive issue which the prior court must have considered in a contest
between the same parties.” 27
      First, Plaintiff complains that DeSalvo’s assumption that Atkins
received an incident report that included a description of the perpetrator’s
appearance conflicts with the Fourth Circuit’s statement that Atkins did not
have that information. Although the Fourth Circuit found a Brady violation
for the suppression of the victims’ descriptions found in other documents, the
issue of whether the incident report was suppressed was not litigated.
Accordingly, the court simply did not consider the issue.
      Further, DeSalvo opines that Atkins would not have used several pieces
of suppressed evidence even if they had been disclosed. While this opinion
undercuts the Fourth Circuit’s materiality holding, the issue of what Atkins
would have done with the suppressed evidence was not litigated. More
importantly, DeSalvo’s opinions are relevant to the issue of whether the
suppression of Brady evidence caused Plaintiff’s conviction. 28 Accordingly,
DeSalvo’s opinion is both helpful and relevant.
      As to reliability, Plaintiff argues that DeSalvo’s opinions are
insufficiently reliable because they are based only on his personal experience
and an incomplete review of the critical documents in the case. First, Plaintiff

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         Goodman v. Spillers, 686 So. 2d 160, 167 (La. App. 2 Cir. 1996).
      28  That said, DeSalvo’s opinion is limited by the Court’s prior holding precluding
Defendant from arguing that Atkins’s ineffective assistance was a cause of Plaintiff’s
conviction. See Order and Reasons on Plaintiff’s Motion in Limine and Partial Motion for
Summary Judgment on Defendant’s Fifth Affirmative Defense.
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complains that DeSalvo does not base his opinions on any professional
standard or methodology. Rather, he states that his opinions are based solely
on his work as a criminal defense lawyer. Further, he fails to explain how that
experience informed his opinions in this case. As with Plaintiff’s expert,
Levenson, this Court finds DeSalvo’s more than forty years of experience as a
criminal defense lawyer sufficiently reliable, and this Court can readily see
how that experience led to his opinions in this matter.
       Plaintiff next complains that in reaching his opinion DeSalvo failed to
review the entire case file, instead relying on defense counsel to provide him
with documents to review. Plaintiff points out that DeSalvo failed to review
pertinent documents—such as the “Menner Memo” and deposition transcripts
of significant witnesses—prior to rendering his opinion. The Court does not
find this argument compelling. DeSalvo reviewed sufficient information in the
record to form a reliable opinion, and his opinion need not address every issue.
Accordingly, Plaintiff’s motion to exclude his testimony fails.
       E. Dr. Mary Tramontin
       Finally, Defendant seeks to introduce the expert testimony of Dr. Mary
Tramontin, a clinical psychologist, to opine that (1) Plaintiff does not suffer
from PTSD and (2) Plaintiff’s plea was voluntarily entered. Plaintiff seeks to
exclude Tramontin’s opinion for four distinct reasons. 29
       First, Plaintiff argues that Tramontin’s testimony should be excluded
due to Defendant’s failure to record her entire examination of Plaintiff, in

       29 Plaintiff’s motion asserts other reasons for exclusion, including that Tramontin
should not be allowed to testify as to psychopathy, conduct disorder, anti-social personality
disorder, malingering or that Plaintiff’s life was improved by his time in incarceration.
However, Defendant has stated that Tramontin does not intend to offer testimony on any of
these issues.
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violation of a court order. Defendant argues that it never offered, and was not
ordered, to record the portions of Plaintiff’s examination that involved written
test taking. It states, however, that the entirety of Plaintiff’s interview with
Tramontin was recorded. It notes that Plaintiff does not argue that anything
occurred during the unrecorded portions of the examination that undermines
Tramontin’s conclusions. This Court agrees. Plaintiff—who was obviously
present for the duration of the examination—has not identified any prejudice
from Tramontin’s failure to record its entirety. Further, the court order that
Plaintiff references simply memorialized the parties’ agreement to video tape
the examination. 30
      Next, Plaintiff argues that the portions of the examination that were
recorded reveal that Tramontin’s report is rife with inaccuracies and
misrepresentations, making it unreliable. As Defendant points out, however,
the inaccuracies identified by Plaintiff are more aptly described as
disagreements with Tramontin’s interpretations of the statements made to her
by Plaintiff in his interview. These discrepancies are best addressed on cross
examination.
      Third, Plaintiff argues that Tramontin should not be permitted to opine
on the voluntariness of Plaintiff’s guilty plea because she is not qualified to
offer such an opinion. Plaintiff complains that Tramontin has no expertise on
the subject of guilty pleas and points out that she is not familiar with any case
law concerning what constitutes a voluntary plea, has never attended a plea
hearing, has not studied or researched the topic, and does not consider herself
an expert on the psychology of guilty pleas. This Court agrees. Tramontin’s


      30 Doc. 168.

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expertise in the field of clinical and forensic psychology does not qualify her to
opine on the voluntariness of Plaintiff’s guilty plea. She is only qualified to
opine that he did not suffer from a mental defect at the time he entered his
guilty plea.
      Finally, Plaintiff seeks to prevent Tramontin from testifying that her
report is “peer reviewed.” Tramontin’s report states that it has been peer
reviewed and is signed by three of Tramontin’s colleagues with whom she
discussed the report and who provided a “final scrub” of the report. Plaintiff
argues that the use of the phrase “peer review” is misleading and prejudicial.
This Court agrees. The phrase “peer review” impermissibly implies that other
experts agree with her opinion and that her opinion has undergone a thorough,
academic review that it has not. Accordingly, Tramontin will not be permitted
to testify that her report has been peer reviewed. Plaintiff’s motion to exclude
her testimony is granted in part as outlined above.


                                CONCLUSION
      For the foregoing reasons, the Motions in Limine to Exclude the Expert
Testimony of Dr. Allison Redlich and Frank DeSalvo are DENIED; and the
Motions in Limine to Exclude the Testimony of Dr. Jennifer Dysart, Laurie
Levenson, and Dr. Mary Tramontin are GRANTED IN PART as outlined
herein.


                     New Orleans, Louisiana this 21st day of January, 2021.


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